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                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


Alberto Aroeste; Estela Aroeste
                                                           Civil Action No.    22-cv-682-AJB-KSC

                                              Plaintiff,
                                       V.
The United States of America;                                JUDGMENT IN A CIVIL CASE
Department of the Treasury; Internal
Revenue Service; Internal Revenue
Service
                                            Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
the Court Denies the Government’s motion for summary judgment and Grants in part and Denies in
part Aroeste’s motion for summary judgment. The case is hereby closed.




Date:         11/21/23                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ M. Quinata
                                                                                  M. Quinata, Deputy
